                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JOHNNY M. HUNT,              )
                             )
        Plaintiff,           )
                             )
v.                           )                       Case No. 3:23-cv-00243
                             )                       Judge Campbell/Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.,                      )
                             )
        Defendants.          )


                                             ORDER

                                      I. INTRODUCTION

       Johnny Hunt, a pastor and former President of the Southern Baptist Convention (“SBC”),

brought this suit against the SBC, the Executive Committee of the SBC (“the Executive

Committee”), and Guidepost Solutions LLC (“Guidepost”) (collectively, “Defendants”) alleging

torts including defamation and libel related to an investigative report (“the Report”) prepared by

Guidepost for the SBC that includes allegations that Mr. Hunt sexually assaulted the wife (“the

accuser”) of another SBC pastor. 1,2 Docket No. 1. All three Defendants have filed Motions to

Dismiss, which have been disposed of. Docket Nos. 25, 29, 31, 150, 151.

       This matter is now before the Court upon Mr. Hunt’s Motion to Compel Forensic

Collection. Docket No. 204. Mr. Hunt has also filed a Supporting Memorandum and other

supporting documents. Docket Nos. 205, 205-1, 205-2, 207, 207-1 through 207-8. 3 Guidepost



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  Guidepost was engaged by SBC to investigate possible sexual abuse by members of the
Executive Committee. Docket No. 1-1, p. 2.
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  The accuser is also referred to as “the survivor.”
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  Some documents have been filed both under seal and in a redacted form in the public record.


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has filed a Response in Opposition and supporting documents. Docket Nos. 208, 208-1, 208-2,

210, 210-1, 210-2. Mr. Hunt has filed a Reply. Docket No. 211. For the reasons set forth below,

Mr. Hunt’s Motion (Docket No. 204) is DENIED.

                                    II. LAW AND ANALYSIS

A. Discovery Requests and Motions to Compel

        Discovery in federal court is governed by the Federal Rules of Civil Procedure, which

provide that a party may request production of documents or other tangible items as long as the

information sought is within the scope of discovery. Fed. R. Civ. P. 34(a); see also Fed. R. Civ.

P. 26(b)(1). Interrogatories are covered by Rule 33, which provides that “[e]ach interrogatory

must, to the extent it is not objected to, be answered separately and fully in writing under oath.”

Fed. R. Civ. P. 33(b)(3).

        In general, the scope of discovery extends to nonprivileged information that is relevant to

any party’s claim or defense, regardless of whether the information sought is admissible, that is

“proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The Rules were amended,

effective December 1, 2015, in part to address the alleged costs and abuses attendant to

discovery. Under Rule 26, “[t]here is now a specific duty for the court and the parties to consider

discovery in the light of its ‘proportional[ity] to the needs of the case . . . .’” Turner v. Chrysler

Grp. LLC, No. 3:14-1747, 2016 U.S. Dist. LEXIS 11133, at *2, (M.D. Tenn. Jan. 27, 2016),

quoting Fed. R. Civ. P. 26(b)(1). The following factors are relevant to a consideration of whether

the scope of discovery is proportional:

                (1) the importance of the issues at stake in the action,
                (2) the amount in controversy,
                (3) the parties’ relative access to relevant information,
                (4) the parties’ resources,
                (5) the importance of the discovery in resolving the issues, and
                (6) whether the burden or expense of the proposed discovery

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               outweighs its likely benefit.

Fed. R. Civ. P. 26(b)(1) (numbering added). “Nevertheless, the scope of discovery is, of course,

within the broad discretion of the trial court.” United States v. Carell, No. 3:09-0445, 2011 U.S.

Dist. LEXIS 57435 at *5 (M.D. Tenn. May 26, 2011), quoting Lewis v. ACB Bus. Servs., Inc., 135

F.3d 389, 402 (6th Cir. 1998) (internal quotation marks omitted).

       After making a good faith effort to resolve a dispute, a party may move for an order

compelling discovery. Fed. R. Civ. P. 37(a)(1). The moving party “must demonstrate that the

requests are relevant to the claims or defenses in the pending action.” Carell, 2011 U.S. Dist.

LEXIS 57435 at *5, quoting Anderson v. Dillard’s, Inc., 251 F.R.D. 307, 309-10 (W.D. Tenn. 2008)

(internal quotation marks omitted). “Relevance for purposes of discovery is broadly construed

and the information sought need not be admissible to be discoverable.” T.C. ex rel S.C. v. Metro

Gov’t of Nashville & Davidson Cty., No. 3:17-01098, 2018 WL 3348728, 2018 U.S. Dist. LEXIS

113517, at *17 (M.D. Tenn. July 9, 2018). “If relevancy is shown, the party resisting discovery

bears the burden of demonstrating why the request is unduly burdensome or otherwise not

discoverable under the Federal Rules.” Carrell, 2011 U.S. Dist. LEXIS 57435, at *5 (internal

quotation marks and citation omitted). Further, for purposes of a motion to compel, “an evasive

or incomplete disclosure, answer, or response must be treated as a failure to disclose, answer, or

respond.” Fed. R. Civ. P. 37(a)(4).

B. Mr. Hunt’s Motion to Compel

       Mr. Hunt brings this Motion to ask the Court to compel Guidepost “to forensically collect

text messages from the phones of Julie Myers Wood, Krista Tongring, Samantha Kilpatrick, and

Russell Holske,” because he asserts that he “has proof that text messages have been destroyed or

lost, and Guidepost failed to comply with the Court’s Order and adequately search the phones of



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[these individuals].” 4 Docket No. 204, p. 1.

       Mr. Hunt has made this request twice before. Docket Nos. 106, 107, 165. Initially, the

Court denied Mr. Hunt’s Motion to Compel text messages from Guidepost executives (including

the general counsel) and investigators. 5 Docket No. 158. The Court found that Mr. Hunt had not

demonstrated that Guidepost had failed to produce investigators’ and executives’ text messages,

and had failed to establish the relevance of text messages involving Guidepost’s general counsel.

Id. at 11. Mr. Hunt filed a Motion to Reconsider that Order, specifically seeking the production of

text messages and asking the Court to order Guidepost to “do a forensic collection of Mr. Holske,

Ms. Kilpatrick, Ms. Wood, and Ms. Tongring’s phones” to retrieve responsive text messages.

Docket No. 165, p. 5. Mr. Hunt cited Ms. Myers Wood’s deposition testimony and Guidepost’s

document production as evidence that text messages had been withheld. Id. at 2-3.

       In response, the Court found that:

               (1) the information provided by Mr. Hunt is not “new”; it was
               either known to the Court at the time of its prior Order or could
               have been presented with Mr. Hunt’s motion to compel; but also
               (2) there may be relevant and responsive text messages that
               Guidepost has not yet produced. The Court was aware that Ms.
               Myers Wood was involved in some relevant group texts that had
               been produced to Mr. Hunt, and the fact that relevant texts exist
               that include her is not new evidence and would not change the
               Court’s conclusion. But the Court does not understand why, that
               being the case, there have been no texts produced from Ms. Myers
               Wood’s phone, and Guidepost does not attempt to explain that
               absence.

Docket No. 197, p. 4-5. Because it was not clear to the Court from Guidepost’s submissions that



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  The Court has previously identified these individuals based on information contained in the
Parties’ Joint Discovery Dispute Statement: “Guidepost personnel: lead investigators (Russell
Holske and Samantha Kilpatrick), Senior Managing Director (Krista Tongring), [and] Chief
Executive Officer (Julie Myers Wood) . . . .” Docket No. 158, p. 9, n.5.
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  The Motion was granted in part, but was denied as to the production of text messages. Docket
No. 158.
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all relevant text messages had been produced, the Court ordered Guidepost to “search the phones

of Ms. Myers Wood, Ms. Tongring, Ms. Kilpatrick, and Mr. Holske and file a notice with the Court

certifying that any relevant text messages that are responsive to a discovery request from Mr. Hunt

and were not previously produced from the phones of another custodian have now been produced.”

Id. at 5. The Court noted that “Mr. Hunt has not provided evidence of document destruction or

loss such that a forensic examination is necessary.” Id., n.7.

        Guidepost timely filed the Notice, certifying that the phones were searched and “all further

responsive text messages in their [possession], custody, and control that were not previously

produced from the phones of another custodian have now been produced.” Docket No. 201, p. 1.

Mr. Hunt maintains that not all responsive text messages were produced, and that a forensic

collection is also necessary because “Guidepost delegated the responsibility of searching for

relevant text messages to each individual witness, resulting in a limited and deficient production.”

Docket No. 207, p. 5.

1. Timeliness of Mr. Hunt’s Motion

        Guidepost contends that the Motion should be denied as untimely because “Hunt’s motion

is procedurally defective as the motion was submitted 42 days after the Court Ordered deadline of

April 19, 2024[,] for the bringing of discovery motions (ECF 147) . . . . Hunt has not attempted to

explain why this motion was brought 6 weeks after the Court Ordered deadline. Nor did Hunt

seek permission of the Court to file this post deadline motion.” Docket No. 210, p. 2 (emphasis in

original).

        Mr. Hunt responds that his Motion “was timely and was required in response to Guidepost’s

refusal to comply with the Court’s May 14, 2024 Order.” Docket No. 211, p. 5. Mr. Hunt asserts

that:



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               The Court granted in part Plaintiff’s Motion to Reconsider on May
               14, 2024[,] and ordered Guidepost to search and produce text
               messages. (Doc. No. 197). Guidepost made a supplemental
               production on May 28th, which was reviewed by Plaintiff the same
               day. Plaintiff had a meet and confer with Guidepost’s counsel on
               May 29th and filed his Motion to Compel on May 31, 2024. There
               was no delay. As soon as it was apparent that Guidepost’s
               production was deficient, Plaintiff promptly filed his Motion to
               Compel.

Id.

       Guidepost accurately states that the Court’s deadline for the filing of discovery motions

passed on April 19, 2024. Docket No. 147, p. 2. The Motion that undergirds the present dispute

is Mr. Hunt’s Motion for Reconsideration, which was timely filed on April 8, 2024. Docket No.

162. As Mr. Hunt notes, the Court ruled on that Motion on May 14, 2024, after the discovery

motion deadline had passed. Docket No. 197. Necessarily, Guidepost’s supplemental production

(and Mr. Hunt’s complaints about it) also took place after the deadline. While it would have been

better for Mr. Hunt to seek leave to file his Motion past the deadline, the Court would have granted

permission due to the timing of the events, and will not deny the Motion on that basis.

2. Guidepost’s Method of Collecting Text Messages

       Mr. Hunt asserts that, at the Parties’ most recent meeting to confer about this discovery

dispute, “Guidepost revealed that Guidepost’s witnesses collected their own text messages,” and

that “Guidepost’s self-collection procedure is inappropriate.” Docket No. 207, p. 5. Citing several

out-of-Circuit cases, Mr. Hunt states that “[c]ourts have held that self-collection of ESI without

sufficient oversight and support results in the need for a forensic examination of a device.” Id. at

7-8. Additionally, Mr. Hunt argues that “the supplemental text messages produced cut-off

responses and omit metadata that reveals the date a text was sent or received.” Id. at 8.

       Guidepost responds that its counsel “never allowed the Guidepost witnesses to selectively



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search their phones for further responsive text messages to determine what was relevant or not.”

Docket No. 210, p. 2. Guidepost describes the process it used as follows:

               Guidepost’s witnesses were directed by counsel to review their
               respective cell phones and provide counsel with any text messages
               which related to Plaintiff Johnny Hunt or any of his document
               requests. Guidepost’s witnesses engaged in that review and
               produced the requested text messages to Guidepost’s counsel.
               Upon receipt of the text messages from the Guidepost witnesses,
               Guidepost’s counsel reviewed what was responsive, determined
               what had not yet been produced by other custodians, and made a
               supplemental production on May 28, 2024. (ECF 201).

Id. at 8 (emphasis in original).

       The Court finds that Guidepost’s process for collecting responsive text messages was

adequate. At the time Guidepost employed this process, the Court had just found that there was

no need to reach the level of a forensic collection. While it perhaps would have been better for the

attorneys to receive and review the cell phones themselves, it would also have been inconvenient,

expensive, and invasive to the privacy of the custodians. The Court believes that Guidepost struck

a reasonable balance under the circumstances.

3. Completeness of Guidepost’s Text Message Production

       (a) Text Thread Between Mr. Holske and Jane Doe’s Husband (Exhibit E)

       Mr. Hunt points to several examples to support his assertion that Guidepost has not made

a complete production of relevant, responsive text messages. First, Mr. Hunt maintains that “[t]he

evidence now shows that Mr. Holske deleted at least 80 text messages with Jane Doe’s Husband.”

Docket No. 207, p. 4 (emphasis in original). As an exhibit to his Motion, Mr. Hunt has attached a

chart that shows a text message thread between those two individuals, with the texts produced by

Guidepost on one side and the texts produced by the Husband on the other. Docket No. 207-3

(Exhibit E). There is no question that the Husband produced many more texts from the same



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thread. Mr. Hunt argues that “Exhibit E proves conclusively one of two realities: either (A) Mr.

Holske deleted the text messages missing from that exhibit, or (B) Guidepost’s collection was too

rudimentary to capture them. . . . Either reality warrants an order requiring a forensic collection.”

Docket No. 207, p. 4-5.

       Guidepost posits another reality: “the documents [Mr. Hunt] seeks have already been

produced by another custodian in this case – nonparty Jane Doe and/or Jane Doe’s husband.”

Docket No. 210, p. 11. Guidepost maintains that “Hunt fails to acknowledge that (1) Guidepost

was only required to produce text messages that were not already produced by the cell phone of

another custodian (which it has done), and (2) Hunt has been in possession of these text messages

since at least December 2023.” Id.

       Mr. Hunt replies that “[t]hird-party subpoena recipients are not Guidepost custodians. A

substantial number of text messages have not been produced by any Guidepost custodian, and have

only been produced by third parties.” Docket No. 211, p. 4. Referring to Exhibit E, Mr. Hunt

asserts that “Guidepost did not attempt to address, or even mention this exhibit in its opposition,”

so “[a]ll possible responses have been waived, and it is now definitively established: Guidepost

deleted at least 84 relevant text messages.” 6 Id. at 2. Based on this Exhibit, Mr. Hunt concludes

that “[t]he undisputed record before the Court instructs that a forensic collection of Guidepost

phones is necessary to recover the deleted text messages.” Id. at 3.

       The Court disagrees. Its prior Order was clear: Guidepost was under an obligation to




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 Mr. Hunt does not provide evidence that Guidepost employees deleted text messages after
being made aware of a litigation hold. See Docket Nos. 207, 211. Nor is there any evidence
before the Court that Guidepost employees should have anticipated this litigation at that time.
Absent such factors, the fact that an employee deleted texts, even if true. does not lead to the
conclusion that there should be a forensic examination, especially when in appears that Mr. Hunt
has actual possession of the “missing” texts.
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produce to Mr. Hunt “any relevant text messages that are responsive to a discovery request from

Mr. Hunt and were not previously produced from the phones of another custodian.” Docket No.

197, p. 5. By limiting the production to texts “not previously produced from the phones of another

custodian,” the Court intended to ensure that Mr. Hunt received any relevant and responsive texts

that had not already been produced to him, not that Mr. Hunt would receive additional productions

of texts he already had, whether produced by a Guidepost custodian or a third-party custodian.

Among other things, this represented an attempt by the Court to inject some efficiency into what

has been an unnecessarily drawn-out and contentious discovery period, a topic on which the Court

has already commented and has instituted procedures designed to address. Docket No. 147. There

is little benefit in requiring Guidepost to produce texts that have already been produced (one

potential benefit, cited by Mr. Hunt, is the availability of additional metadata, but the Court judged

that to be de minimis compared with the primary goal of getting unproduced responsive texts to

Mr. Hunt as quickly as possible as the discovery period came to a close). As Exhibit E makes

clear, Mr. Hunt is in fact in possession of all of the texts in this thread, something that he does not

actually dispute. Docket No. 207-3; see Docket Nos. 207, 211. While Mr. Hunt might have

preferred to receive another copy of the thread that originated from Mr. Holske’s phone (and while

the Court is not entirely clear why Guidepost didn’t do just that), it appears to be undisputed that

Mr. Hunt has all of the texts from this text thread, and there is nothing further to be produced.

       (b) Other Texts Contended by Mr. Hunt to be Deleted

       Mr. Hunt maintains that:

               The list of deleted text messages is not limited to the Exhibit E
               above:

                   •   Jane Doe’s Husband asked Mr. Holske via text if Mr.
                       Holske deleted documents “as requested.” (Doc. No. 102,



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                       Ex. U). This text message has not been produced by a
                       Guidepost custodian.

                   •   There are text messages between Guidepost’s investigators
                       connecting Jane Doe and her Husband to a therapist
                       engaged by Guidepost. Exs. H-I. These text messages
                       have not been produced by a Guidepost custodian.


                   •   Before Guidepost’s supplemental production, [Mr. Hunt]
                       identified additional texts by Bates number that had not
                       been produced by a Guidepost custodian. See Ex. B.
                       Despite the notice, the text messages have still not been
                       produced by a Guidepost custodian.

Docket No. 207, p. 5 (emphasis added). Mr. Hunt also asserts that “[n]ot a single text message

produced by Ms. Wood related to the allegations against [Mr. Hunt], despite her testimony at

deposition that she would receive texts from and send texts to Guidepost’s lead investigators ‘on

the Johnny Hunt specific matter.’” Id. at 6, quoting Docket No. 163-1.

       As above when discussing Exhibit E, Guidepost maintains that “Guidepost was not

required to re-produce text messages already produced from the phones of other custodians.”

Docket No. 210, p. 8. As to Ms. Myers Wood’s texts specifically, Guidepost adds that “[t]here is

no dispute that Guidepost produced text messages with Ms. Wood and the investigators directly

related to [Mr. Hunt] and [Mr. Hunt’s] section of the Report,” and that Ms. Myers Wood’s

deposition testimony does not support the inference that she sent or received responsive texts that

were not produced, because her testimony largely related to texts about the Report as a whole, not

texts specific to Mr. Hunt. Id. at 8-9. Guidepost concedes that “one text thread which was timely

provided by Guidepost to Counsel was inadvertently placed in a Mintz & Gold folder for a related

case . . . . That document has been provided to Hunt’s counsel just prior to filing this response.

Counsel has since searched the related Sills folder and cannot locate any other documents that were

inadvertently moved to that folder.” Id. at 5, n.3.


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       As previously discussed, the Court’s intention in ordering a supplemental production of

text messages from Guidepost was to ensure that Mr. Hunt received any relevant and responsive

texts that had not already been produced to him, not that Mr. Hunt would receive additional

productions of texts he already had, whether produced by a Guidepost custodian or a third-party

custodian. Apart from simply continuing to assert that there must still be unproduced texts, Mr.

Hunt does not appear to contend that he does not have these texts; rather, he is taking the position

that they must be produced from the phone of a Guidepost employee, regardless of whether they

are already in his possession.

       With regard to Mr. Hunt’s assertion that “[n]ot a single text message produced by Ms. Wood

related to the allegations against [Mr. Hunt], despite her testimony at deposition that she would

receive texts from and send texts to Guidepost’s lead investigators ‘on the Johnny Hunt specific

matter,’” Ms. Myers Wood in fact testified only that it was her recollection that the investigators

occasionally texted her on this matter, leaving open the possibility (which Guidepost asserts) that

these texts were produced from the phones of others. Docket No. 207, quoting Docket No. 163-

1; Docket No. 163-1, p. 3-4; Docket No. 210, p. 8, citing Docket No. 210-2. As to Mr. Hunt’s

assertion that “Ms. Wood did not produce a single text to or from Sunny Lee or Christina Bischoff,”

despite testifying that she had no reason to dispute that she exchanged such texts, Ms. Myers Wood

testified only that she did not recall texting with those individuals about the Report, but had no

reason to dispute it – not that she texted with them regarding Mr. Hunt. Docket No. 207, p. 6;

Docket No. 163-1, p. 4.

       As previously noted, Mr. Hunt also contends that some of the text messages in Guidepost’s

supplemental production are truncated, and has attached examples. Docket No. 207, p. 7-8; Docket

No. 207-8. The Court has reviewed these examples (including the text conversation between Mr.



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Holske and Ms. Tongring referenced on page 7 of Docket No. 207), and concludes that while it

would have been a better practice for Guidepost to produce cleaner versions of the text threads,

the truncation does not appear to omit relevant and responsive information. 7

       Guidepost’s counsel has filed a signed Notice certifying that “in compliance with this

Court’s Order, dated May 14, 2024 (ECF 197), the phones of Ms. Myers Wood, Ms. Tongring, Ms.

Kilpatrick, and Mr. Holske were searched and all further responsive text messages in their

[possession], custody, and control that were not previously produced from the phones of another

custodian have now been produced.” Docket No. 201, p. 1. The Court takes the representations

of attorneys very seriously, under the assumption that their signed certification can be relied upon

because they are mindful of their status as officers of the Court, their duty of candor to the Court,

and their professional responsibilities, including the responsibility of complying with Rule 11 of

the Federal Rules of Civil Procedure.

       In considering Mr. Hunt’s request for an additional discovery process at this stage, the

Court has considered all of the proportionality factors set forth in Rule 26(b) and finds that the

request is not proportional to the needs of the case under the circumstances. Mr. Hunt has

articulated, and the Court perceives, very little benefit likely to flow from such largely-cumulative

discovery. The Court is not inclined to order such a process based primarily upon an implicit

assertion that the representations of defense counsel, made in the form of a signed certification,

are untrue. 8 The fact discovery period has closed and the Parties would be best served by



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  The Court disputes Mr. Hunt’s assertion that the answer to “[a]lso, is it possible to get someone
to draft what the Hunt narrative might look like today, so we can send it to the [Accuser and her
Husband] for feedback based on what we currently know. It may save time so we can just add
Roy and Hunt 2. As discussed what I wrote will need to be paired down and conform with rest
of doc.” is “a very important question in this case.” Docket No. 207, p. 7.
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  All counsel are cautioned that evidence of behavior that violates the Rules of Professional
Responsibility or Rule 11 will be taken very seriously and dealt with accordingly.
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proceeding to the next stage of the litigation.

                                       III. CONCLUSION

       For the foregoing reasons, Mr. Hunt’s Motion (Docket No. 204) is DENIED.

                                                  IT IS SO ORDERED.




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                                                  Jeffery S. Frensley
                                                  United States Magistrate Judge




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